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                               MOTION           'UNDER           28 U.S.C.          § 2255    TO V ACATB,                SET ASIDE,           OR CORRECT

                                                     SENTENCE                BY     A PERSON          IN FEDERAL               CUSTODY


United         States         District          Court                                         District         of Florida       (Middle)
Name      (under which you were convicted):                                                                                                       Docket    or Case No.:
  Jason     Dean      Barnes

Place     of Confinement:                                                                                                  Prisoner    No.:
 Coleman       Low     FCI                                                                                                 62815-018

UNITED         STATES OF AA/IERICA                                                                                   MOVanf       (includenameunderwhichconvicted)

                                                                                       "            Jason    Dean     Barnes



                                                                                            MOTION


    1.      (a) Name          and location        of court       which        entered      the judgment        of conviction          you are challengitig:
            u.s.   District     Court       - Florida     Middle
           300 North          Hogan      Street
           Jacksonville,         FL 32202



            (b)Criminaldocketorcasenumber(ifyouknow):                                               3:15-cr-112


     2.     (a)Dateofthejudgmentofconviction(ifyouknow):                                                 1/22/2018

            (b)Dateofsentencing:                     1/18/2018


     3.     Length      of sentence:          72 Months


    4.      Nature      of crime        (all counts):
            Receipt     of child      pornography              (CT1 )




     5.     (a) What       was your          plea?      (Check      one)

                     (1) Not guilty             a                                   (2) Guilty           €                                        (nocontest)€
                                                                                                                                  (3) Nolocontendere                                   ,
     6.     (b) If you entered a guilty plea to one count or indictment,                                      and a not guilty          plea to another       count   or indictment,
            what      did you plead guilty               to and what           did you plead         not guilty      to?




     6.     If you went         to trial,     what      kind    of trial     did you have?           (Check       one)                    Jury[                  Judge   only   [l

     7.     Did    you testify        at a pretrial       hearing,         trial,   or post-trial     hearing?                 Yes    €                          NoE]

                                                                                                                                                                                 Page 2 of 13
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     8.      Did     you     appeal from the judgment                of conviction?            Yes   g               No   €
       9.    If    you     did appeal,    ai'iswer         the following:

             (a) Name of court:              United States Court of Appeals for the 1 1th Circuit
             (b) Docket or case number (if you know):                            18-1 0458-G
             (c) Result:         Affirmed

             (d) Date of result (if you know):                       9/20/2019
             (e)    Citation     to the   case       (if   you   know):
             (f) Grounds raised:
            1. First it remains an open question whether the good-faith exception is available
                                                                                                   where the warrant was void
            ab initio, because the issuing magistrate judge acted beyond the territorial jurisdiction
                                                                                                       granted by the Federal
            Magistrate Act and Federal Rules of Criminal Procedure 41 (b).

            2. FBI agent, acted outside the bound, of good-faith                         exception   when they presented      the NIT affidavit to the
               EDVA magistrate judge.




             (g)DidyoufileapetitionforcertiorariintheUnitedStatesSupremeCourt?
                                                                        Yes [2                                                                   NO€
                     If "Yes,"        answer the following:

                     (1) Docketorcasenumber(ifyouknow):                               SC#19-7053
                     (2) Result:        Den'ed

                     (3) Date of result (if you know):

                     (4) Citation       to the case (if you know):               01/27/2020
                     (5) Grounds raised:
                         Magistrate     lacked authority to issue warrant.




 10.        Other than the direct appeals listed above, have you previously                          filed any other motions,    petitions,   or applications,
            concerning this judgment of conviction in any court?

             Yes€           ,     No a

 11.        IfyouranswertoQuestionl0was"Yes,"givethefollowinginformation:
            (a) (l) Name of court:

                   (2) Docket or case number (if you know):

                   (3) Date of filing        (if you know):




                                                                                                                                                    Page 3 of 13
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                 (4)   Nature          of the proceeding:

                 (5)   Grounds           raised:




                 (6)   Did       you receive          a hearing      where         evidence    was given       on your      motion,    petition,    or application?

                                Yes€                    Noa
                 (7)   Result:

                 (8)   Date       of result        (if you know):

          (b)    If you filed         any second        motion,        petition,      or application,       give the same information:

                 (1)   Name           of coiut:

                 (2)   Docket          of case number            (if you know):

                 (3)      Date    of filing        (if you laiow):

                 (4)   Nature          of the proceeding:

                 (5)   Grounds           raised:




                 (6)      Did    you receive          a hearing      where         evidence    was given          on your   motion,    petition,    or application?

                                Yes    €                No   €
                 (7)   Result:

                 (8)      Date    of result        (if you know):

          (c)    Did   you appeal          to a federal       appellate        court     having    jurisdiction       over the action       taken   on your    motion,      petition,

          or application?

                 (1)      Firstpetition:                         Yes€                     No   €
                 (2)      Second       petition:                 Yes     €                No   €
          (d)    If you     did not appeal           from    the action        on any motion,           petition,    or application,      explain    briefly   why    you    did not:




                                                                                                                                                                            Page 4 of 13
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  12.     For this motion,           state every ground          on which           you claim that you are being held in violation              of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds.                                               State the facts
          supporting   each ground. Any legal arguments must be submitted in a separate memorandiun.


GRO ,,.           ONE:     TheConstitution
                           rnisarlviss
                                          guarantees  allcriminaldefendant
                                 deprivpiri Mr Flarnes of jiiry trial
                                                                        atrialbyajuryofpeers.
                                                                                Fl
                                                                                           Defense
                                                                                                counsel

          (a)    Supporting       facts (Do not argue or cite law.                    Just state the specific      facts that support       your claim.):
          See continuation           page.




          (b) Direct       Appeal         of Ground       One:

                 (1)     If you appealed         from the judgment             of conviction,          did you raise this issue?

                            Yes €                  No El
                 (2)     If you did not raise this issue in your direct                    appeal, explain       why:
                The issue was not ripe for review                   on direct appeal         since it relies on facts outside          the record.



          (c)    Post-Conviction             Proceedings:

                 (l)     Did you raise this issue in any post-conviction                        motion,     petition,     or application?

                            Yes      €             No     g
                 (2)     If you answer to Question               (c)(l)     is "Yes,"     state:

                 Type of motion           or petition:        N/A

                 Name     and location         of the court where the motion                 or oetition     was filed:
                 N/A


                 Docket or case number (if you know):                          N/A

                 Date of the court's          decision:

                 Result    (attach       a copy of the court's            opinion     or order, if available):
                N/A




                 (3)     Did you receive         a hearing       on your motion,           petition,     or application?

                            Yes      €             No     €

                                                                                                                                                                  Page 5 of   13
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                (4)      Did you appeal from            the denial        of your motion,        petition,   or application?

                             Yes     €             No     €
                (5)      If your     answer    to Question       (c)(4)     is "Yes,"   did you raise the issue in the appeal?

                             Yes     €             No     €

                (6)      If your     answer    to Question        (c)(4)    is "Yes,"   state:

                Name      and location        of the court       where the appeal was filed:
               N/A


                Docket or casenumber(if you know):H74
                Date of the court's           decision:

                Result     (attach    a copy of the court's           opinion     or order,      if available):
               N/A




                (7)      If your     answer    to Question       (c)(4)     or Question     (c)(5)     is "No,"   explain      why you did not appeal or raise this

                lSSue:

               N/A




                            The Constitution      provides that the Federal Judiciary consist of court's of limit jurisdiction.  Also, the
GROUND TWO:                 Constitution    protects citizens against unreasonable     searches. The Government        relied upon evidence
                            illegally obtained from a coun without jurisdictiori    to convict Mr. Eiarries. Hence, the Constitution     invalidates
                            the conviction.

         (a)    Supporting         facts (Do not argue or cite law.                Just state the specific        facts that support    your claim.):

       See continuation            page.




         (b)    Direct     Appeal        of Ground        Two:

                (1)      If you appealed        from      the judgment        of conviction,       did you raise this issue?

                             YesEl                 No€



                                                                                                                                                           Page 6 of 13
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                (2)       If you did not raise this issue in your                     direct    appeal,      explain         why:




         (c)    Post-Conviction                Proceedings:

                (1)       Did    you raise this issue in any post-conviction                            motion,      petition,      or application?

                                Yes€                    NoE]
                (2)       If you      answer     to Question       (c)(l)     is "Yes,"        state:

                Type      of motion          or petition:

                Name       and location          of the court      where       the motion        or petition         was filed:



                Docket          or case number          (if you know):

                Date      of the court's         decision:

                Result      (attach        a copy     of the court's        opinion     or order,        if available):




                 (3)      Did    you receive          a hearing    on your       motion,       petition,       or application?

                                Yes    [                No    €
                 (4)      Did    you    appeal       from    the denial      of your      motion,        petition,      or application?

                                Yes    ['               No    ['
                 (5)      If your      answer        to Question    (c)(4)      is "Yes,"       did you raise the issue in the appeal?


                                Yes@                    No@
                 (6)      If your      answer        to Question    (c)(4)      is "Yes,"       state:

                Name       and location          of the court      where       the appeal        was filed:



                 Docket         or case number           (if you know):

                 Date     of the court's         decision:

                 Result     (attach         a copy    of the court's        opinion     or order,        if available):




                 (7)      If your      answer        to Question    (c)(4)      or Question         (c)(5)        is "No,"       explain   why   you did not appeal   or raise this

                 lSSue:




                                                                                                                                                                         Page 7 of    13
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GRo    ,,.          T ,,,,E,             TheConstitution's
                                      ' qppmlmpi-r:rii
                                                       due process
                                                        inspil
                                                                     requires thegovernment        toensure  theeffective-assistance-of
                                                       AppPllmpi r:ni insm rmipid i iprin thpi hpppims hripfs from qn i,il"irmBJ@d r:qss
                                        Thereby    depriving            Mr. Barnes           of the counsel's             assistance.

             (a)    Supporting             facts    (Do not argue        or cite law.           Just state the specific              facts that support     your   claim.):

         See continuation                   page.




             (b)    Direct       Appeal            of Ground        Three:

                    (l)        If you appealed            from     the judgment           of conviction,           did you raise          this issue?

                                     Yes€                    No    El
                    (2)        If you did not raise this issue in your                        direct    appeal,       explain      why:

                   The issue           was      not ripe for review           on direct       appeal      since      it relies     on facts   outside   the record.




             (c)    Post-Conviction                  Proceedings:

                    (l)        Did    you raise this issue in any post-conviction                               motion,      petition,    or application?

                                     Yes€                    NoE]
                    (2)        If you answer           to Question        (c)(l)       is "Yes,"       state:

                    Type       of motion           or petition:

                    Name        and location           of the court      where         the motion        or petition         was filed:



                    Docket           or case number          (if you know):

                    Date       of the court's          decision:

                    Result       (attach      a copy      of the court's           opinion      or order,        if available):




                    (3)        Did    you receive         a hearing      on your         motion,       petition,       or application?

                                     Yes    €                No
                                                                    €
                    (4)        Did    you appeal         from      the denial         of your      motion,       petition,       or application?

                                     Yes    €                No     €
                    (5)        If your      answer      to Question          (c)(4)     is "Yes,"       did you raise the issue in the appeal?

                                     Yes[                   No     €

                                                                                                                                                                              Page 8 of 13
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                   (6)      If your     answer       to Question      (c)(4)    is "Yes,"     state:

                   Name      and location         of the court        where     the anneal    was filed:



                   Docket         or case number         (if you know):

                   Date     of the court's        decision:

                   Result     (attach       a copy    of the court's       opinion     or order,       if available):




                   (7)      If your     answer       to Question       (c)(4)   or Question        (c)(5)    is "No,"    explain      why    you did not appeal     or raise this

                   issue:




GRO ,,D             FOUR:          The Constitutionimposes,   onthegovernment       a dutytoensure     a criminal   trialisfair.The
                                   government intentionally encoi irar)pid criminal conrli ict and engagecl in foriim shopping tri obtain                                    a
                                   search     warrant.       The government           breached         its duty to ensure         a fair trial.

           (a)      Supporting        facts     (Do not argue         or cite law.     Just state the specific           facts that support       your   claim.):

          See continuation              page.




           (b)     Direct     Appeal          of Ground       Four:

                    (1)     If you appealed           from    the judgment        of conviction,         did you raise         this issue?

                                  Yes['                  NoE]
                    (2)     If you did not raise this issue in your                  direct   appeal,       explain     why:




            (c)     Post-Conviction             Proceedings:

                    (l)     Did    you raise this issue in any post-conviction                      motion,      petition,      or application?

                                  Yes€                   No a

                    (2)     If you answer to Question (c%l) is "Yes," state:



                                                                                                                                                                       Page 9 of    13
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               Type      of motion       or petition:

               Name      and location         of the court       where     the motion       or petition         was filed:



               Docket         or case number       (if you know):

               Date     of the court's        decision:

              Result      (attach     a copy     of the court's        opinion      or order,      if available):




              (3)       Did    you receive       a hearing       on your     motion,      petition,      or application?

                              Yes   €              No     €
              (4)      Did     you appeal       from      the denial      of your    motion,       petition,     or application?

                              Yes   €              No     [-
              (5)      If your      answer     to Question       (c)(4)     is "Yes,"     did you raise the issue in the appeal?

                              Yes €               No
                                                          €
              (6)      If your      answer     to Question       (c)(4)    is "Yes,"      state:

              Name       and location        of the court       where      the appeal     was filed:



              Docket      or case number           (if you know):

              Date     of the court's        decision:

              Result     (attach     a copy     of the court's         opinion      or order,      if available):




              (7) If your answer to Question (c%4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              lSSue:




13.     Is there      any ground        in this motion         that you have        not previously           presented       in some federal         court?   If so, which
        ground      or grounds        have not been presented,               and state your          reasons      for not presenting         them:
       To some extent all grounds                are new since            each   relies   upon       facts     which   were     not within    the record      at the time of
       the direct appeal.




                                                                                                                                                                      Page 10 of 13
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 14.     Do you have any motion,              petition,     or appeal now pending              (filed     and not decided        yet) in any court      for the

         youarechallenging?                       Yes€                   Noa
         If "Yes,"     state the name and location              of the court, the docket              or case number,      the type of proceeding,         and the
         issues raised.




 15.     Give the name and address, if known,                    of each attorney         who represented            you in the following      stages of the
         judgment  you are challenging:
         (a)   At the preliminaiy       hearing:



         (b) At the arraignment            and plea:
         Jeffrey     Alan Gedbaw,     Federal         Public    Defender's      Office,     Ste. 1240,          200 W. Forsyth     st., Jacksonville,      FL 32202

         (c)   At the trial:
         Susan Yagzi, Maurice          C.    Grant, 11,Federal         Public    Defender's           Office,    Ste. 1240,   200 W. Forsyth       st., Jacksonville,
         FL 32202
         (d) At sentenctng:

         Susan Ya4zi, Maurice C. Grant, II, Federal Public Defender's                                 Office,    Ste. 1240,   200 W. Forsyth       st., Jacksonville,
          FL :a2:z02
         (e)   On appeal:
         Jenny     L. Devine,    Federal     Public       Defender's   Office,    2700, 400 N. Tampa                 st., Tampa,     FL33602

         (f)   In any post-conviction         proceeding:



         (g)   On appeal from       any ruling        against    you in a post-conviction               proceeding:




16.      Were you sentenced         on more than one court              of an indictment,              or on more than one indictment,           in the same court

         andatthesame
                    time?                                 Yes['              No El
 17,    Do you have any future             sentence       to serve after you complete                 the sentence    for the judgment       that you are

        challenging?                       Yes€                    No E]
        (a)    If so, give name and location              of court that imposed           the other sentence          you will     serve in the future:




        (b) Give the date the other sentence                   was imposed:

        (c) Give the length of the other sentence: N/A
        (d)    Have you filed,     or do you plan to file, any motion,                    petition,     or application     that challenges      the judgment      or

        sentence
              to beserved
                        in thefuture?                                   Yes€                      No[2

                                                                                                                                                              Page 11 of 13
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 18.     TIMELINESS OF MOTION: If your judgment of conviction became final over
                                                                                          one year ago, you must explain
         why the one-year statuteof limitations as contained in 28 U.S.C. 8, 2255 does
                                                                                        not bar your motion.*
        The Supreme Court denied Mr. Barnes certorari on January 27, 2020, thus
        28 u.s.c. Section 2255(f)(1 )                                               this motion is timely under




   * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA")
                                                                                     as contained     in 28 U.S.C. § 2255,
  paragraph      6, provides   in part that:
       A one-yearperiod of limitation shall apply to a motion under this section.
                                                                                  The limitation            period shall   run
       from the latest of -
           (1) the date on which the judgment of conviction became final;
           (2) the date on which the impediment to making a motion createdby governrnental
                                                                                                           action in violation of
           the Constitution or laws of the United Statesis removed,if the movant was
                                                                                              prevented     from making such a
           motion by such governmental         action;
           (3) thedateonwhichtherightassertedwasinitiallyrecognizedbytheSupremeCourt,ifthatrighthas
           beennewly recognizedby the SupremeCourt and maderetroactively applicable
                                                                                                      to cases on collateral
           reviewa    or

           (4) the dateon which the facts supporting the claim or claims presented could
                                                                                         have been discovered
           through the exercise of due diligence.




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   Therefore, movant asks that the Court grant the following reliej:
 to vacate and set aside the sentence for ineffective assitance of counsel.



  or any other relief to which movant may be entitled.




                                                                                /s/Shannon     A. Ligon (Florida Bar#59l91)
                                                                               Signature    of Attorney   (if any)




 I declare (or certify,   verify,   or state) under penalty of perjury that the foregoing     is tnue and correct and that this Motion
 under 28 U.S.C. § 2255       was    placed in the prison  mailing system on

                                                                                                  (month, date,      year)




 Executed (signed) on                                                          (date)




                                                                              Signature of Movant



 If the person signing is not movant, state relationship       to movant and explain why movant is not signing this motion.

My client, Jason Dean Barnes, is incarcerated,         therefore,   is unable to sign this form and has consented            to our
representation in filing of this Motion.




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                                                                                               CONTINUATION                        PAGE

GROUND              ONE:        The Constitution      guarantees      all criminal       defendant       a trial   by a jury      of peers.
Defense counsel misadvise             deprived   Mr. Barnes      of a jury      trial.

(a) Supporting      facts:

     Defense counsel advised Mr. Barnes that he had a better chance with the district judge,
                                                                                                   than a jury
     because the jury would not understand the true nature of the crime. A position defense
                                                                                                   counsel
     bolstered by rnisadvising Mr. Barnes as to the intent element of the crime. Counsel
                                                                                              did not explain
     that the concept of intent required piupose of doing an act; as well as doing the act
                                                                                            itself. If counsel
     had advised Mr. Bames that the judge had to apply the same standards as the jury,
                                                                                           then Mr. Barnes
     would not have surrendered his right to a jury.

     Similarly, if counsel had explained that the government had to prove he intended
                                                                                       to have control and
     domain over the illegal images when they were accessed, then he would have insisted
                                                                                            On a jury trial
     since the jury (his peers) would understand the confusing nature of the internet.




GROUND             TWO:         The Constitution      provides      that the Federal        Judiciary       consist of courts          of
limited   jurisdiction.      Also, the Constitution      protects    citizens     against    unreasonable          searches. The
Government        reliedupon evidence illegally obtained from a court without                           jurisdiction      to convict
Mr. Barnes.      Hence, the Constitution  invalidates the conviction.

(a) Supporting     facts:

    The Constitution         limits the federal judiciaries   authority
                                                                      to act by time, (e.g., Ex Post Facts Clause), by
    geography  (e.g., Residency          statutes, and by the nature of cases (e.g., Case and Controversy
    Requirement).

    The limitations    on the judiciary      are meant to protect the individual            against improper           invasion   of
    privacy    by the government.

    Here the governrnent       knew that it could not obtain a warrant in the proper venue.   hi order to
    circumvent     the jurisdiction    obstacles, the governrnent sought a warrant from a court in a different
     state. (Virginia).   The Magistrate Judge in that court exceeded its power and authority (subject matter
    jurisdiction)    and issued the warrant. Established precedent provides that an action taken by a court
     without jurisdiction    is a nullity-    at law, it never existed.

    This court violated       due process when it permitted an indictment and conviction that relied on a legal
    nullity.   The cnal         judgtnent should be vacated, and the indictment dismissed.




                                                                                                                                            1
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                                                   CONTINUATION      PAGE

GROUND               THREE:            The Constitution's         due process requires        the government            to ensure the
effective-assistance-of           appellate-counsel.         Appellate   counsel relied upon the appeals briefs                  from    an
unrelated        case. Thereby       depriving       Mr. Barnes     of the counsel's assistance.

(a) Supporting       facts:

        In light of limited  resources, defense counsel attached Mr. Bannes' appeal to that of a similar case,
        instead of particularizing   Mr. Barnes' claim to his record and facts, counsel depended on the
        arguments and efforts of the attorneys in the other case. hi essence, counsel involuntarily    shifted Mr.
        Barnes' representation to attorneys that had no duty of loyalty                  to Mr. Barnes, thereby depriving               Mr.
        Barnes of counsel including counsel for his certiorari petition.                 This court should follow            Eleventh
        Circuit protocol and review Mr. Barnes' direct appeal rights.




GROUND              FOUR:           The Constitution         imposes on the government              a duty to ensure a criminal
trial    is fair. The government             intentionally    encouraged      criminal   conduct       and engaged in forum
shopping      to obtain       a search warrant.         The government        breached    its duty to ensure a fair trial.

(a) Supporting      facts:


    The government     operated the illegal website not only offemg but also encouraging Mr. Barnes'
    arguably  illegal conduct. The government should have been estopped from prosecuting Mr. Barnes,
    since it was the government, which initiated and controlled the computer technology that generated
    illegal behavior.

    To make matters worse and regardless of whether the "governrnent    estoppel" docties   apply. The
    government realized it lacked evidence to prove its case-more   accurately lacked evidence even to
    indict-thus, the government intentionally  chose an alien forum and rnisinfortned that court as to the
    factual circiunstances         in order to obtain a search warrant that the Constitution                    otherwise   forbid.

    The government           investigative     techniques    violated    its duty to ensure   a   fair trial.




                                                                                                                                              2
